                                DECISION
{¶ 1} This cause came on to be considered upon a notice of appeal, the transcript of the docket and journal entries, the transcript of proceedings and original papers from the Butler County Court of Common Pleas, and upon the brief filed by appellant's counsel, oral argument having been waived.
  {¶ 2} Counsel for defendant-appellant, Earl Cavin, Jr., filed a brief with this court pursuant to Anders v. California (1967),386 U.S. 738, 87 S.Ct. 1396, which (1) indicates that a careful review of the record from the proceedings below fails to disclose any errors by the trial court prejudicial to the rights of appellant upon which an assignment of error may be predicated; (2) lists three potential error "that might arguably support the appeal," Anders, at 744,87 S.Ct. at 1400; (3) requests that this court review the record independently to determine whether the proceedings are free from prejudicial error and without infringement of appellant's constitutional rights; (4) requests permission to withdraw as counsel for appellant on the basis that the appeal is wholly frivolous; and (5) certifies that a copy of both the brief and motion to withdraw have been served upon appellant.
  {¶ 3} Having allowed appellant sufficient time to respond, and no response having been received, we have accordingly examined the record and find no error prejudicial to appellant's rights in the proceedings in the trial court.1 Therefore, the motion of counsel for appellant requesting to withdraw as counsel is granted, and this appeal is hereby dismissed for the reason that it is wholly frivolous.
Valen, P.J., Young and Walsh, JJ., concur.
1 One of the "potential errors" requests that this court examine the validity of appellant's guilty plea. In his brief, counsel states that he "ordered the January 17, 2002 plea transcript, and that transcript is now part of the record in this case." The record on appeal does not contain the transcript of the January 17, 2002 plea hearing. Despite our repeated requests, no transcript or App.R. 9 statement in lieu of a transcript has been submitted for our review. Accordingly, absent any record to the contrary, we can only presume the regularity of the proceedings at appellant's plea hearing and conclude that no reversible error occurred when appellant entered his guilty plea. See State v. Lane (1997),118 Ohio App.3d 485.